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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                               §
                                               §
 ANGEL FLORES, CESAR
                                               §
 HERNANDEZ, DEBORAH RIVERA,
                                               §
 LAURA LOZOYA and SALLY A.
                                               §
 MARTINEZ, Individually and On Behalf
                                               §
 of All Others Similarly Situated,
                                               §
                                               §
               Plaintiffs,
                                               §
                                                               No. 4:18-cv-01263
                                               §
 v.
                                               §
                                               §
 JBM JANITORIAL MAINTENANCE,                             JURY TRIAL DEMANDED
                                               §
 INC., KRC FLOOR MAINTENANCE,
                                               §
 INC., VIRIDIANA GARCIA A/K/A
                                               §
 VIRIDIANA MARTINEZ, RAFAEL V.
                                               §
 MARTINEZ and CECIL M.
                                               §
 MARTINEX
                                               §
                                               §
               Defendants.
                                               §
                                               §


                      CERTIFICATE OF INTERESTED PARTIES


TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Plaintiff, Angel Flores, Individually and On Behalf of All Others

Similarly Situated, and pursuant to this Court’s order, Plaintiff, hereby files this Certificate

of Interested Parties, listing all persons, associations of persons, firms, partnerships,
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corporations, affiliates, parent corporations, or other entities that are financially interested in

the outcome of this litigation:

        1.     Angel Flores, Plaintiff
               c/o Melissa Moore
               MOORE & ASSOCIATES
               Lyric Centre
               440 Louisiana, Suite 675
               Houston, Texas 77002

        2.     Cesar Hernandez, Plaintiff
               c/o Melissa Moore
               MOORE & ASSOCIATES
               Lyric Centre
               440 Louisiana, Suite 675
               Houston, Texas 77002

        3.     Deborah Rivera, Plaintiff
               c/o Melissa Moore
               MOORE & ASSOCIATES
               Lyric Centre
               440 Louisiana, Suite 675
               Houston, Texas 77002

        4.     Laura Lozoya, Plaintiff
               c/o Melissa Moore
               MOORE & ASSOCIATES
               Lyric Centre
               440 Louisiana, Suite 675
               Houston, Texas 77002

        5.     Sally Martinez, Plaintiff
               c/o Melissa Moore
               MOORE & ASSOCIATES
               Lyric Centre
               440 Louisiana, Suite 675
               Houston, Texas 77002




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  6.    Melissa Moore, Counsel for Plaintiffs
        MOORE & ASSOCIATES
        Lyric Centre
        440 Louisiana, Suite 675
        Houston, Texas 77002

  7.    Curt Hesse, Counsel for Plaintiffs
        MOORE & ASSOCIATES
        Lyric Centre
        440 Louisiana, Suite 675
        Houston, Texas 77002

  8.    Bridget Davidson, Counsel for Plaintiffs
        MOORE & ASSOCIATES
        Lyric Centre
        440 Louisiana, Suite 675
        Houston, Texas 77002

  9.    JBM Janitorial Maintenance, Inc., Defendant
        c/o Viridiana Garcia
        7002 Hillsboro St.
        Houston, Texas 77020

  10.   KRC Floor Maintenance, Inc., Defendant
        c/o Rafael Martinez
        6101 Lyons Ave., Ste. B
        Houston, Texas 77020

  11.   Viridiana Garcia, Defendant
        a/k/a Viridiana Martinez
        7002 Hillsboro St.
        Houston, Texas 77020

  12.   Rafael V. Martinez
        7002 Hillsboro St.
        Houston, Texas 77020




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  13.   Cecil M. Martinez
        7002 Hillsboro St.
        Houston, Texas 77020




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                                                       Respectfully Submitted,

                                                       MOORE & ASSOCIATES


                                                       By:
                                                         Melissa Moore
                                                         State Bar No. 24013189
                                                         Federal Id. No. 25122
                                                         Curt Hesse
                                                         Federal Id. No. 968465
                                                         State Bar No. 24065414
                                                         Lyric Center
                                                         440 Louisiana St., Ste 675
                                                         Houston, Texas 77002
                                                         Telephone: (713) 222-6775
                                                         Facsimile: (713) 222-6739

                                                       ATTORNEYS FOR PLAINTIFF




                              CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was forwarded to all counsel of
record on the 29th day of May 2018 via the Court’s CM/ECF system.



                                                                  Melissa Moore




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